8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 1 of 25 - Page ID # 71




                  CONSENT DECREE APPENDIX A:
 JULY 2018 SEWER PARTICIPATION SERVICE AGREEMENT AND PERMIT
                  United States v. Henningsen Foods, Inc.
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 2 of 25 - Page ID # 72




                   SEWER PARTICIPATION SERVICE AGREEMENT AND PERMIT

          This Agreement, made and entered into this ~3 day of .     <kft.        .2018, between
 the City of David City, a municipal corporation of the County of'!(utler and State of Nebraska,

 hereinafter referred to as City, and Henningsen Foods, Inc. a New York corporation, authorized
 to do business in the State of Nebraska, hereinafter referred to as Company.

          RECITALS:

          WHEREAS, the Company operates an egg-breaking, processing and manufacturing plant

 within the geographical boundaries of the City with said processing plant being connected to the
 city sewerage collection and processing system;

         WHEREAS, the City, recognizing an obligation to provide adequate sewage treatment

facilities for its inhabitants, both domestic and industrial, built a new waste water treatment
facility in 1997/1998 and continues to operate that treatment plant;

         WHEREAS, the City and the Company entered into an agreement on March 13, 1997
wherein Company shared with the City in the cost of construction of such new waste water

treatment facility, with Company agreeing to reimburse the City for 54% of that capital cost of

the City's actual construction costs of said waste water treatment facility; and those capital cost

payments will continue until December 2018, at which time the capital cost debt will be retired;

         WHEREAS, the City and Company entered into an agreement dated November 9, 2016
which superseded the 1997 agreement;

         WHEREAS, the Company is in the process of permitting and constructing a new pH
neutralization and waste water equalization system which shall pretreat and equalize the

Company's waste water prior to its entry into the City's sewer system (the "Pretreatment
System"); and

         WHEREAS, the City now has plans to improve the treatment plant by constructing a new

anaerobic lagoon and related projects, and the City and Company are now desirous of entering

into a new agreement providing an equitable division of future costs based upon usage of said




                                           Page 1 of 24

4834-2196-7213,   V.   1
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 3 of 25 - Page ID # 73



 waste water treatment facility, with the intent to have this Agreement supersede all prior
 agreements between the parties;

          NOW, THEREFORE, in consideration of the mutual covenants contained herein, the
 parties agree as follows:

                                     TREATMENT FACILITY USAGE

     1. The Company agrees to use the City's waste water treatment facility and the City shall

          accept, treat, process and dispose of waste and sewage originating at the Company's
          plant.

          a. Specifically, the City's waste water treatment facility shall receive, and the Company

              shall have the right to discharge no more than 150,000 gallons per day hydraulic flow

              (the "Volume Limit") with a BOD of 2,781 pounds per day, TSS of 700 pounds per day,

              and TKN of290 pounds per day (collectively, the "Organic Load Limits"). The Company

              currently has two (2) locations where its waste water enters the City sewer, one called

              Outfall 101 and the other called Outfall 202. Outfall 202 will be eliminated because

              waste currently discharged there will be re-routed to Outfall 101 with construction of

              the new Pretreatment System.

         b. For purposes of determining the Company's compliance with the Organic Load Limits

              and for purposes of determining whether any surcharges should be assessed against

              the Company, as described in Section 12 of this Agreement, the Company's effluent

              shall be sampled on five (5) consecutive days each month using flow-proportional

              sampling techniques.    (For the avoidance of any doubt or confusion, the Parties

              acknowledge here that pH shall be sampled using time-proportional sampling

              techniques as described in Section 13 of this Agreement.) All determinations as to the

              Company's compliance and whether surcharges should be levied shall be based on

             the five (5)-day average (Monday- Friday work week) of the test results. The Organic

              Load Limits shall be revisited and may be increased or decreased after the completion

             of the new anaerobic lagoon, at the City's or Company's request, and as outlined in

             Section 11.



                                             Page 2 of 24

4834-2196-7213, v.1
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 4 of 25 - Page ID # 74



           c. The pH of the Company's effluent (measured at the point where it passes from the
               Company's facility into the City sewer system, as described in Section 13 of this

               Agreement) shall not fall below 5.5 S.U. or exceed 10.5 S.U. (the "pH Limits").

               (Contrary to past practices, this Agreement does not and the City shall not impose on

               Company a pH influent limit, meaning a limit applied and measured at the inlet to or

               anywhere inside the City waste water treatment facility.) For purposes of determining
               the Company's compliance with the pH Limits, the Company's effluent shall be

               sampled, as further described in Section 13, via the automatic pH daily monitoring

               equipment currently in use (or reasonable substitutions and replacements thereof)

               and reported on Flow Link on a daily average, maximum, and minimum basis, per
               effluent monitoring location. The Company shall not be deemed out of compliance

               with the pH Limits unless the twenty-four (24) hour average of daily samples
               (beginning at 12:00 a.m. and ending at 11:59 p.m. each day) demonstrates that the

               pH Limits have been exceeded. The sampling equipment shall be well-maintained and

               probes shall be calibrated by the City according to the manufacturer's instructions.

               Probe calibration shall be checked and if necessary recalibrated by the City each week

              day. Probe checks and calibrations shall be logged by the City. The City shall make

              the calibration logs available to the Company on a weekly basis, and whenever the
              Company requests the logs.

          d. Unless the context requires otherwise, the following terms shall be defined as follows:

              •    Biochemical Oxygen Demand (BOD) shall mean the quantity of oxygen utilized in

              the biochemical oxidation of organic matter under the standard EPA-approved

              laboratory test method in five (5) days at 20 degrees centigrade, expressed in
              milligrams per liter (mg/I).

              •    Total Suspended Solids (TSS) shall be defined as solids that either float in sewage

              or are in suspension in sewage that are removable by an EPA-approved laboratory
              filtration device expressed in milligrams per liter (mg/I).




                                               Page 3 of 24

4834-2196-7213. v. 1
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 5 of 25 - Page ID # 75



               •      Total Kjeldahl Nitrogen (TKN) shall be defined as the total organic and ammonia
               nitrogen, expressed in milligrams per liter (mg/I), contained in sewage as determined
               by using EPA-approved Kjeldahl method.

               •      ill:[ shall be defined as the concentration of hydrogen ions in an aqueous solution

               as a measure of acidity or basicity expressed in Standard Units {S.U.), as determined
               by an EPA-approved method.

      2. The Company shall not discharge any waste water which exceeds Company's allocation

          as set forth above in Section 1 either as to quantity or content of waste water. Should

          Company exceed such allocations a surcharge shall be assessed in accordance with the

          formula set forth in Section 12 of this Agreement. In the event that such waste water

          shall cause the imposition of a fine or penalty for noncompliance with the National

          Pollutant Discharge Elimination System ("NPDES") Permit assessed by the Nebraska

          Department of Environmental Quality or the U.S. Environmental Protection Agency,

          Company shall be subject to remedies in accordance with Section 16 of this contract.

     3. The Company shall not exceed the Volume Limit, Organic Load Limits or pH Limits and

          shall abide by this contract and all other laws and regulations applicable to the use of

          sanitary sewers and waste water treatment facility of the City, and the Company shall not
         introduce into the waste water treatment facility or its system any of those materials set
         forth in Section 2-2016 of the David City Municipal Code

     4. Upon a determination by City that the waste water discharge by Company without

         pretreatment will be harmful to the structure, process or operation of the waste water
         treatment facility or detrimental to the quality of effluent being discharged from that

         facility, City shall have all remedies available to it under Section 3-225 of the David City

         Municipal Code as the same is in existence now or may be hereinafter amended.

                             MONITORING FACILITIES AND ACCESS TO PROPERTY

    5. To the extent not already completed, the City shall require the Company at Company's
         expense, to (a) construct and maintain a monitoring facility on Company property at a

         location approved by the Company to allow inspection, sampling and flow measurement


                                                 Page 4 of 24

4834-2196-7213, v.1
    8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 6 of 25 - Page ID # 76



           of the lateral sewer or internal drainage systems and (b) allow sampling or metering

           equipment to be provided, installed, operated and maintained atthe Company's expense.

           City shall also have the right to set up a monitoring device at such facility at City's expense.

      6. Company shall allow authorized personnel of the City ready access, at all reasonable

           times, to monitoring facilities as described in Section 5 for inspection or sampling or for

           the performance of their duties. City shall have the right to set up on Company's property

          such devices as are necessary to conduct sampling or metering operations at City's cost

          and risk. While performing such work, City's personnel shall observe all safety rules

          established by Company and applicable to its plant or facilities and such personnel shall

          not interfere with the normal operations of Company's plant.

                                  SAMPLING METHODS AND PROCEDURES

      7. The Company and City agree the following sampling methods and procedures shall be

          followed at all times unless otherwise provided for elsewhere in this Agreement or altered
          by signed written agreement of the parties:

          a. Subject to the other terms and conditions of this Agreement, the City shall be initially

               and primarily responsible for conducting all sampling and testing (through approved

              third-party laboratories) of the Company's waste water at the times and intervals

              specified in Section 1 of this Agreement. The City acknowledges the importance of its

               role and understands that its sampling and testing program shall be used by the

              Company for compliance reporting required under the Company's NPP Permit with

              the Nebraska NDEQ.        The City further understands and acknowledges that the

              Company is specifically relying on the accuracy and veracity of the City's sampling and

              testing methods and procedures, and any errors or omissions committed by the City
              may cause the Company to incur damages.

         b. All measurements, tests, and analyses of the characteristics of Company's waste

              water shall be determined in accordance with the latest edition of "STANDARD

              METHODS FOR EXAMINATION OF WATER AND WASTE WATER" published by the

              American Public Health Association and American Water Works Association and shall               _


                                               Page 5 of 24
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4834-2196-7213, v. 1
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 7 of 25 - Page ID # 77



                  be determined at the monitoring facilities located on the Company's property from

              samples taken at such monitoring facilities.          Sampling shall be carried out by

              customarily accepted, EPA approved, methods to reflect the effects of waste
              constituents upon the waste water treatment works and to determine the existence            I
              of a possible hazard to life, limb, property and proper operation of waste water            II
              treatment facility.                                                                         I

                                                                                                          IJI
          c. As required by State and Federal Regulations, all sampling shall be representative of

              the Company's and City's actual waste streams.



              flow-proportional     composite     sampling
                                                                        Pursuant to 40 C.F.R. Section

              403.12(g){3), all samples taken to determine organic loads shall be obtained through

                                                               techniques,   unless   time-proportional
                                                                                                          I
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              composite sampling or grab sampling is authorized by the Nebraska Department of

              Environmental Quality.      All sampling shall be performed by a qualified, licensed
              individual. All State and Federal quality assurance and quality control standards shall

              be met for all sampling.       All testing shall be performed by an EPA-accredited
              independent laboratory. Upon request of the Company, the City shall prepare a

              written sampling and analysis plan which shall set forth all methods, protocols,

              procedures, quality assurance and quality controls to be used by the City and
              Company during the term of this Agreement.

         d. Split-sampling shall be conducted at the request of the Company. If requested by the
              Company, all samples taken by the City shall be immediately divided into two equal

              shares, one share for the City and one share for the Company. Each shall then have
             their shares tested by different EPA-approved independent laboratories, and the

              results of said testing shall be made available by each party to the other. In the event

             split-sampling is performed, the sampling costs incurred by the Company for its share
             shall be the responsibility of the Company.

         e. Nothing in this Agreement shall preclude Company from collecting their own samples

             at any time. Further, at any time during the term of this Agreement, the Company

             may, in its sole and absolute discretion, decide to perform its own compliance
             sampling and testing.      If the Company chooses to perform its own compliance


                                                Page 6 of 24

4834-2196-7213,   V.   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 8 of 25 - Page ID # 78




               sampling, it shall: {i) do so at its own expense, {ii) regularly report the results to the

               City for purposes of demonstrating compliance with this Agreement, and {iii) shall no

               longer be required to reimburse the City for its sampling and testing expenses.

      8. Any disputes between the Company and the City regarding sampling methods,

          procedures and results shall be resolved through the dispute resolution procedures

          provided for in Section 18 of this Agreement.

                         COMPANY SEWER SYSTEM MAINTENANCE ASSESSMENT

     9. Annually, as a component of the City's annual budget process, the City shall prepare a
          WWTF budget which shall serve as the basis for an annual sewer system maintenance

          assessment charged to the Company. The general procedures for making the budget and
          assessment shall be as follows:

          a. The annual cost for sewer system maintenance shall be determined by the City or its

              representative and shall include all annual costs for labor, insurance, rodent control,

              repairs, supplies and freight, office supplies, electricity, gasoline and oil, natural gas,

              mechanized sewer cleaning, sand and gravel, and a reasonable contingency fund for

              the sewer system including collection system and lift stations, but excluding <)ny costs

              related to the waste water treatment facility {the "Annual Non-WWTF Costs").

              Annually, before the 1'' day of October, City shall present to Company a summary of

              such annual costs and Company's proportionate share thereof as determined below.

              Within thirty {30) days of receipt of such statement, Company shall have the right to

              appeal to the City Council the records and figures used in deriving the Company's

              proportionate share of such annual costs.         Company shall have a period of an

              additional fifteen {15) days from the date of receipt of such records to conduct its own

              audit of such costs. After consideration of the appeal by Company, City shall notify

              Company of its final decision. Should Company disagree with such final decision, any

              dispute shall be resolved as provided in Section 18 of this Agreement.

         b. The Annual Non-WWTF Costs, as set forth above, shall be separately identified in an

             annual budget adopted by City. Such annual cost for sewer system maintenance shall


                                               Page 7 of 24

4834-2196-7213, v.1
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   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 9 of 25 - Page ID # 79



                be prepared by the City on a monthly basis. The Company's proportionate share of
               the annual assessments shall be, based upon the following formula:

                                Company's Share Sewer Maintenance= (Y/Z)X

                                  X=Sewer Maintenance Budget or Annual Non-WWTF Costs

                                  Y=Length of Sewer Used by Company

                                  Z=Total Length of all of City Sewers

               Such proportionate assessments to Company shall be determined by City in

               accordance with established costs incurred by the City to repair, service and collect

               waste water from Company and other commercial, industrial and residential users.

               Should there be a significant increase in the costs attributed thereto, this allocation
               shall be reviewed with the Company and shall be subject to an adjustment by

               ordinance or resolution of the City Council. The Company's current proportionate
               share is Eight and Nine-Tenths Percent (8.9%).

          c.   In the event of major repairs to the City sewer system or replacement of a major

               portion thereof proposed and planned after the date of this Agreement, the City will

               determine the assessment costs for such repairs and levy the same on a use basis

               between commercial users, individual, residential users and Company; provided,

               however, it is specifically understood and agreed that the assessment to the Company

               shall include only its proportionate share of the cost of major repairs to be performed
               on that part of the sewer system actually used by the Company. The Company shall

               not be required to share in the cost of lagoon clean-out or sewer repairs and
               maintenance that are included in the current capital improvement plan, further

               described in Section 10 (b), or any other costs that are not related to the construction

               of the anaerobic lagoon and associated project components. The City shall pay the

               cost of the lagoon clean-out, sewer repairs and maintenance and all other costs

               included in the current capital improvement plan that are not related to the
               construction of the anaerobic lagoon and associated project components.



                                               Page 8 of 24                       7/;J         (j   ;aof
4834-2196-7213, v.1
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  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 10 of 25 - Page ID # 80



                                        COMPANY CUSTOMER CHARGE

      10. In addition to the sewer system maintenance costs, the City shall also assess the Company

          for the City's proportionate fixed costs, capital costs, and variable costs as follows:

          a. Proportionate Fixed Cost. Until adjusted as hereinafter provided, on a monthly basis,

              Company shall pay to City, a monthly charge equivalent to Fifty-Eight percent (58%)

              of the annual estimated fixed operations, maintenance, repair, and capital costs of

              the waste water treatment facility divided by twelve for City fiscal year October 1 to

              September 30, annually, and then such percentage shall be annually adjusted for each

              subsequent twelve-month period that this contract is in force based upon actual,

              unadjusted sampling data gathered during the preceding twelve-month period.

              Usage during the previous twelve-month period shall be the average organic loads in

              the Company's effluent for the twelve-month period, based on actual, unadjusted
              data. Proportionate fixed costs shall include the fixed cost of operating the new

              anaerobic lagoon to be constructed under the current capital improvement plan. Any

              dispute regarding the allocation of proportionate fixed costs shall be resolved as
              provided in Section 18 of this Agreement.

         b. Current Capital Improvement Plan. The City has a current capital improvement plan

              which includes the construction of an anaerobic lagoon, as described in the design

              memorandum dated May 2, 2017 prepared by the City's consulting engineers, Olsson

             Associates. The City and Company hereby agree that the Company's proportionate

             share of the cost of the current capital improvement plan shall be Sixty-Five Percent

              (65%) of not more than $2,339,000.00.          For the avoidance of any doubt, the

             Company's share shall not exceed $1,520,350.00 payable in equal monthly

             installments over the term of this Agreement. To the extent the actual cost of

             constructing the anaerobic lagoon and associated components is less than

             $2,339,000.00 the Company shall receive a proportionate share of the cost savings
             through a credit to the amount of capital costs it has agreed to pay in this Section 10

             (b). The Company shall not be required to share in the cost of lagoon clean-out or

             sewer repairs and maintenance that are included in the current capital improvement

                                              Page 9 of 24

4834-2196-7213,   V.   1

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  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 11 of 25 - Page ID # 81



                  plan, or any other costs that are not related to the construction of the anaerobic
                  lagoon and associated project components. Any dispute regarding the allocation of
                costs associated with the current capital improvement plan or otherwise arising under
                this Section 10 (b) shall be resolved as provided in Section 18 of this Agreement.

          c.    Future Capital Improvement Costs. In the event it is deemed necessary to undertake
               additional capital improvements to the waste water treatment facility, City shall notify
               Company of its intention to conduct a facility study and shall ask Company for its input
               on such study. If, after such facility study, it is deemed necessary to undertake capital
               improvements with respect to the waste water treatment facility, such proportionate
               share of the bonded indebtedness and other fixed operation and maintenance and
               repair costs shall be determined based on actual, unadjusted data, for the
               immediately-preceding thirty-six (36) month period with respect to flows and
               contents of such flows, attributed to the City and to Company necessitating the
               undertaking of such capital improvements. Subject to the City's duty to indemnify the
               Company as provided in Section 17 of this Agreement, all such costs of capital
               improvements shall then be allocated between the City and Company in direct
               proportion to the actual, unadjusted relative utilization of such capital improvements.
               In establishing the relative proportionate shares for capital improvements, a
               committee      composed    of   two   representatives   from    Company     and   three
               representatives from the City, as appointed by the Mayor of the City, such
               representatives to include one member of the City staff or City council, the waste
               water treatment facility operator and a professional engineer employed by the City.
               The waste water treatment facility operator shall serve as chairman of said committee
               and shall only vote on matters in the event of a tie. Said committee shall make
               recommendations to the City Council, which shall by ordinance or resolution, duly
               adopt and determine the relative allocation of bonded indebtedness and other fixed
               operation, maintenance and repair costs attributable to any such capital
               improvement to the waste water treatment facility.        At the time of adjustment
               occurring by reason of the completion of a capital improvement to the waste water


                                               Page 10 of 24

4834-2196-7213,   V.   1
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  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 12 of 25 - Page ID # 82



               facility, but subject to the City's duty to indemnify the Company as provided in Section

               17 of this Agreement, nothing shall prohibit an adjustment of the proportionate share

               of such items allocable solely to the capital improvement. Before adoption of such

               resolution or ordinance, Company shall be notified of the action desired to be taken

               by City and shall have thirty {30) days from the date of such notification to ask the

               Council for review of its decision. Upon the adoption of a resolution or ordinance in

               respect to the al location of the costs of any capital improvement, such allocation shall

              be applicable to the next full monthly billing cycle first occurring after the date of

              adjustment. Any dispute regarding the allocation of future capital improvement costs

              shall be resolved as provided in Section 18 of this Agreement.

          d. Variable Costs. On a monthly basis, Company shall also pay to City a monthly charge

              for variable operations, maintenance and repair costs which shall take into account

              the relative usage by Company. Such variable operations, maintenance and repair

              costs shall be defined as all those costs attributable to the waste water treatment
              facility other than fixed costs.

              The formula to be utilized in determining the variable costs to be paid by Company

              shall be as follows, and shall be reviewed and adjusted annually:

                      i.   Cu= W*C, Vu/V, + X*C,Bu/B, +Y*C,Su/S,+ Z*C,Tu/T,

                  ii.      For purposes of the above formula, the variables shall be defined as follows:

                           W, X, Y, Z = Annually adjusted variable Volume, BOD, TSS, and TKN rate factors,

                           respectively.

                           C, = Total portion of facility Variable Operation, Maintenance and Repair Costs

                               per unit of time.

                           Cu= A user's charge of Variable Operation, Maintenance and Repair Costs per

                               unit of time.

                           B, = Total unadjusted BOD contribution from all users per unit of time.



                                                   Page 11 of 24

4834-2196-7213, v.1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 13 of 25 - Page ID # 83



                        Bu= Total BOD contribution from the Company per unit of time.

                        s, = Total unadjusted TSS contribution from all users per unit of time.
                        Su= Total TSS contribution from the Company per unit of time.

                        V, = Total unadjusted volume contribution from all users per unit of time.

                        Vu= Volume contribution from the Company per unit of time.

                        T, = Total unadjusted TKN contribution from all users per unit of time.

                        Tu= Total TKN contribution from the Company per unit of time.

     Any dispute regarding the allocation of variable costs shall be resolved as provided in Section

     18 of this Agreement.

                      DETERMINATION OF ALLOCATIONS TO FIXED AND VARIABLE COSTS

     11. Annually, as a component of the City's annual budget process, a committee composed of
          representatives from Company and representatives from the City as appointed by the

          Mayor of the City, composed as in Section 10 (c), shall review all items of expenses

         associated with the operation of the waste water treatment facility for purposes of

         establishing what costs should be allocated to fixed costs, maintenance and repair costs

         and what costs should be allocated to variable costs in respect to the City's budgetary

         process. Prior to the adoption of the budget of the City, the committee so established

         shall report to the City and make its recommendations with respect to the proper

         budgetary allocation of fixed costs, maintenance and repair costs and variable costs for

         the operation of the waste water treatment facility. Based upon the recommendation of

         the committee, the City, by proper ordinance or resolution duly adopted, shall then

         establish what portion of the budgetary costs attributable to the waste water treatment

         facility constitute fixed costs and what portion constitute variable costs. Any dispute

         regarding the allocation of fixed and variable costs shall be resolved as provided in Section

         18 of this Agreement.




                                               Page 12 of 24

4834-2196-7213, v.1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 14 of 25 - Page ID # 84



                                                SURCHARGES

      12. In the event the Company's effluent exceeds the Volume Limit or any of the Organic Load

          Limits, the Company shall pay surcharges to the City for excessive volume and/or strength

          of effluent based upon the following provisions:

          a. Volume, BOD, TSS, and TKN Surcharge. All sampling shall be performed as agreed in

               Section 1 of this Agreement. On a five-day basis, the average daily waste discharge of

               Company based on actual, unadjusted data shall be calculated and in the event the

              five-day average exceeds one or more of the Organic Load Limits or the Volume Limit,

              a daily surcharge shall be calculated for the waste components that exceed the limits.

              The surcharge shall be expressed in cents per pound or cents per gallon based on the

              City's actual cost to treat the waste component in question, as determined in Section

              12(b) of this Agreement. The surcharge shall be multiplied by the number of calendar

              days between routine sampling activities beginning on the last day of the five-day

              sampling period to the start of the next five-day sampling period to obtain the total

              number of days in the period being subject to surcharge. Then the surcharge for that

              period shall be determined by multiplying the number of days in the surcharge period

              by the cost to treat the waste per the formula provided for in Section 12 (b). The

              portion of the total surcharge that occurs in each billing period shall be added to the

              billing to be paid by Company on a monthly basis. The Company shall have forty-five

              (45) days after receipt of their bill to object to any such surcharges by email or letter

              delivered to the City Clerk. The City and Company shall then meet to attempt to

              resolve the surcharge dispute. If they are unable to resolve the dispute, the dispute

              shall be resolved as provided in Section 18 of this Agreement.




         b. Formula. The daily surcharge shall be calculated in accordance with the following

              formula:

                  i.     SC= [Rp (Pt - Pm)+ Re (St- Sm)+ Rt (Tt- Tm)+ Rv ((Vt -Vm)/1,000)]




                                             Page 13 of 24

4834-2196-7213, v.1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 15 of 25 - Page ID # 85



                           ii.   For purposes of the above formula, the variables shall be defined as

                                 follows:

                                 Pm= BOD in allocated waste water defined as 2,781 pounds per day.

                                 Pt= BOD in waste water in pounds per day.

                                 R, = TSS treatment cost per pound per day.

                                 Rp = BOD treatment cost per pound per day.

                                 Rt= TKN treatment cost per pound per day.

                                 Rv = Treatment cost of flow per 1,000 gallons.

                                 Tt = TKN in waste water in pounds per day.

                                 Tm= TKN in allocated waste water defined as 290 pounds per day.

                                 St= TSS in waste water in pounds per day.

                                 Sm= TSS in allocated waste water defined as 700 pounds per day.

                                 Vt= Volume of waste water generated by user in gallons per day.

                                 Vm = Volume of waste water allocated to user defined as 150,000 gallons

                                 per day.



                       iii.      For purpose of the above formula, R, shall equal zero cents ($0.00) per

                                 pound, Rp shall equal thirty-five cents ($0.35) per pound, Rt shall equal

                                 seventy-nine cents ($0.79) per pound, and Rv shall equal eighty-nine cents

                                 ($0.89) per 1,000 gallons.     The treatment cost for each surcharge

                                 component shall be reviewed on an annual basis and recalculated as

                                 required to incorporate the fixed and variable costs determined in

                                 accordance with Section 11.

                                                    INCIDENT CHARGES

     13. The City may assess incident charges to the Company as follows:

         a. In case of an incident occurring which requires the waste water treatment facility

             operator to be called to the facility at other than normal working hours, a $500.00

             incident charge shall be levied. For purposes of this Agreement, normal working hours



                                                    Page 14 of 24

4834-2196-7213,   V,   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 16 of 25 - Page ID # 86



               are defined as 7:00 a.m. to 4:00 p.m., Monday through Friday. The City agrees it shall
               not impose more than one (1) such incident charge per day.

          b. Further, if any flow-proportional discrete sample within a twenty-four (24) hour

               period (7:00 a.m. to 7:00 a.m.) exceeds a concentration of 13,400 mg/I COD in any

               one discrete sample, an incident charge of $250.00 shall be levied whether or not the

               operator was called out, unless the Company notifies the City WWTF to expect an

               excessive BOD/COD load within one (1) hour of occurrence of an incident at the

               Company's plant that may cause such excessive load.

          c. The City may impose one (1) incident charge per day if pH test results indicate the

               Company's effluent falls outside either the upper or lower agreed-upon pH limit, on

               an "average basis," during the 12 hours of highest flows from the outlet of the

               Company's neutralization system into the inlet to the City sewer system located on

              the Company's property on any given calendar day. The term "average basis" shall

               mean the average of all automatic pH readings (12 per hour) taken during the 12 hours

              of highest flows using time-proportionate sampling techniques recognized and

              approved by the Nebraska Department of Environmental Quality and U.S. EPA.

          d. For the first thirty (30) months of this Agreement, all funds received by the City for

              COD incident charges shall be set aside by the City to be expended for construction of

              the new anaerobic lagoon. On April 1, 2019, the COD incident charges shall increase

              to $500.00, and there shall be no restriction on use of said incident charges by the
              City.

         e. Probe calibration shall be checked each week day and logged by the City. The City

              shall make the calibration logs available to the Company on a regular basis, or upon
              request.

                                      DELINQUENT ACCOUNTS

     14. All sums due in accordance with this contract shall be paid to City monthly and shall be

         immediately due and payable upon the receipt by Company of a statement itemizing the

         sums so due. Unless payment shall have been received within thirty (30) days from the

         date of receipt of billing, such unpaid sums shall be deemed delinquent and shall accrue

                                             Page 15 of 24

4834-2196-7213, v. 1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 17 of 25 - Page ID # 87



          interest at the rate of one percent (1%) per month from the delinquency date of said bill.

          In the event Company shall fail to pay all sums due in accordance with the provisions of

          this Agreement within three (3) months of the receipt of a billing, City may discontinue

          supplying services to Company's property until such time as said bill shall be paid.

          Should Company contest its bill, it shall have fifteen (15) days from the receipt thereof to

          contest the same by so notifying the City Clerk. Company shall have the right, during the

          fifteen (15) day period to request verification of said bill. After City has reviewed said bill

          and reached a final decision thereon, should Company disagree with said decision, any

          dispute shall be resolved as provided in Section 18 of this Agreement.

                                              LIEN RIGHTS

     15. City shall also have the right to declare any and all delinquent payments due to City in

          accordance with this Agreement a special assessment tax and certify the same to the

          Butler County Clerk and Treasurer's office to be included in the real estate taxes of the

          property to which such delinquent payment relates, to the extent permitted by law.

                           REMEDIES FOR VIOLATION OF DISCHARGE LIMITATIONS

     16. Should the City determine that Company is violating the covenants of this Agreement, the

         following provision shall be applicable:

         a. Upon determination that there is reasonable cause to believe that a provision of this

              Agreement is being violated at the premises of Company, the City Clerk, when so

              notified by the waste water treatment facility operator, shall notify Company in

             writing stating the nature of the violation and providing a reasonable time for

             correction to be made. Both parties, City and Company, shall use their best efforts to

             resolve the problem as contained in the notification by the City Clerk. In the absence

             of unusual circumstances, fifteen (15) days shall be considered a reasonable time.

             Company, upon receipt of the notice, shall report to the City Clerk within fifteen (15)

             days, in writing, stating what action has been taken or is being taken to correct the

             condition constituting the violation. If Company does not correct the violation within



                                              Page 16 of 24

4834-2196-7213,   V.   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 18 of 25 - Page ID # 88



                  such time limit, or with any extensions of time granted by the City Council, the City
                  Clerk shall cause one or more of the following to occur:

                             i.   Terminate services to premises of Company, after Company has failed to

                                  correct such problem after such fifteen (15) days' notice and any extension

                                  of time, and after the City Council has approved such termination. Such

                                  termination shall continue until Company has satisfactorily corrected the
                                  problem;

                            ii.   Cause the City to initiate court action to enforce compliance with this
                                  Agreement;

                           iii.   Declare all sums owing for services immediately due and collectible; or

                           iv.    Start court action for the levy of a fine for violation of this Agreement.

          b. Election by the City Council to terminate services shall not release Company from its

              obligations to pay sums owing hereunder if termination was proper under the

              provisions of this Agreement and all delinquent payments hereunder shall draw

              interest at the rate of One Percent (1%) per month or Twelve Percent (12%) per

              annum. Furthermore, should City properly terminate services under the terms of this

              contract, City shall not be liable for any damages that may result by virtue of such

              termination suffered by Company in the event of ceased production.

         c. Should Company be aggrieved by any notice sent by the City Clerk in accordance with

              this section, Company may obtain a hearing by the City Council, upon a written

              request. The written request must be filed with the City Clerk within the time for

              correcting any violations or within any extension of time granted by the City Clerk.

             Such written request will postpone the date that the work is required to be completed

              until after the hearing, provided, however, that the City Clerk will set the date for

              hearing as early as possible after receiving the request for hearing. At such hearing,

             Company may present any facts or arguments which Company desires to present, may

             be presented by counsel and may present such expert testimony or technical evidence

             as is necessary to establish the contentions of Company.                  Such hearing may be

             recorded by a court reporter if requested by either party, at the expense of the



4834-2196-7213,   V,   1
                                                      Page 17 of 24
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  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 19 of 25 - Page ID # 89



                  requesting party. After hearing, the City Council may continue the original order in

              effect, modify the order or withdraw the order depending on the facts shown at the
                  hearing.

          d. Should Company be aggrieved by any decision of the City Council under the provisions

              of this Section 16, Company may, at its option and in its sole discretion, appeal such

              decision directly to any Nebraska court having jurisdiction over the matter without

              regard to the dispute resolution procedures provided for in Section 18.

                                                INDEMNITY

     17. In the event that Company does discharge excessive amounts of pollutants in violation of

          the National Pollutant Discharge Elimination Permit or other regulations of the U.S.

          Environmental Protection Agency and Nebraska Department of Environmental Quality,

          Company shall, by utilization of the waste water system of the City, be obligated to

         indemnify and hold the City harmless against from and any all losses, damages, claims,

         demands, actions, causes of action, penalties, judgments, costs and expenses of

         whatsoever nature which may result from injury to, or death of, persons or results in the

         City being in violation of state or federal regulation or regulatory agency requirements,

         when such violation, injury, death, loss, destruction or damage arises in any way in

         connection with, or incident to Company depositing amounts of waste water in excess of

         those permitted by this Agreement into the City's sanitary sewers. It must be proved, on

         a case by case basis that Company's depositing excessive amounts of pollutants, on a daily

         basis, was in fact the cause of a violation, injury, death, loss, destruction or damage and

         that such excessive discharge was not due to a force of majeure, any fault of City or that
         of any third party.


         The City acknowledges that the Company is following the current capital improvement

         plan put forth by the City and its consulting engineers and is making a contribution in good

         faith and in reliance on the representations of the City's engineers that the plan will work.

         If the plan does not work, the City and its engineer shall take the steps necessary to

         correct, improve, modify or supplement the system and pay all necessary costs so that


                                               Page 18 of 24

4834-2196-7213,   V.   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 20 of 25 - Page ID # 90



          the City's waste water treatment system meets NPDES permit limits at no additional cost

          to Company. The City agrees to defend, indemnify and hold the Company harmless

          against from and any all future costs and expenses of whatsoever nature, including
          without limitation additional capital construction costs, which may result from the failure

          of the new lagoon to perform as represented by the City's engineers.

                                        DISPUTE RESOLUTION

     18. Except as otherwise provided in this Agreement, the Company and the City agree to

          exercise good faith and fair dealing to resolve all disputes arising under this Agreement

          according to the following procedures:

          a. Unless stated otherwise in this Agreement, if the Company disagrees, in whole or in

              part, with any decision made by the City pursuant to this Agreement, the Company

              may notify the City Clerk in writing of the objections and the bases therefor within ten

              {10) days of receipt of the City's decision. The City and the Company shall then have

              an additional twenty {20) days from the City's receipt of the Company's objections to

              attempt in good faith to resolve the dispute, unless an extension of time is agreed to

              by both parties. The parties agree to use their best efforts to informally and in good

              faith resolve all disputes. If agreement is reached, the resolution shall be reduced to

              writing, signed by representatives of the Company and the City and implemented.
         b. If the parties are unable to reach an agreement within the initial twenty {20) day

              period as extended by mutual agreement, the Company shall, within seven (7) days,

              provide a written notice and demand for arbitration to the City Clerk. The notice shall

             state specific points of the dispute remaining from its original notice of dispute, the

             factual and legal bases for the Company's position, and all matters it considers

             necessary for resolution of the identified matters in dispute. The City shall provide

             written responses to the Company's notice of dispute to the Company.

         c. Thereafter, the matter shall be determined by final and binding arbitration

             administered by the American Arbitration Association (" AAA") under its Commercial

             Arbitration Rules and Mediation Procedures {"Commercial Rules"). The laws of the

             State of Nebraska shall govern.     The dispute shall be decided by one arbitrator

                                             Page 19 of 24

4834-2196-7213,   V.   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 21 of 25 - Page ID # 91



               selected and agreed to by the parties within twenty (20} days of receipt by the City of

               the request for arbitration or in default thereof appointed by the AAA in accordance

               with its Commercial Rules. The decision rendered by the arbitrator shall be final and

               binding on the parties and may be entered and enforced in any Nebraska court having
               jurisdiction.

                                            AUDIT RIGHTS

      19. At any time during the term of this Agreement, on thirty (30} days advance notice and

          during regular business hours, the Company or its representatives may audit the City's

          cost records, testing records, assessment records and other documents relating to this

          Agreement and the Company as necessary to verify compliance with the terms and

          conditions of this Agreement. The City shall reasonably cooperate with the Company in

          conducting any such audit. If any audit reveals an underpayment of any amount due the

          Company or an overcharge of the fees or other charges paid orto be paid by the Company

          under this Agreement, then the City shall correct the underpayment or overcharge by

          paying the Company all sums due in full within thirty (30} days after receiving a written

          auditor's report and substantiation of the inaccuracy. If the audit reveals an overpayment

          greater than Ten-Thousand Tollars ($10,000.00} in any calendar year, then the City shall

          reimburse the reasonable costs of the Company in performing the audit, including

         without limitation, fees, travel and lodging costs, of any professionals engaged by the

         Company to perform such audit, in addition to the amount of the underpayment. Any

         dispute arising under this provision shall be resolved as provided in Section 18 of this
         Agreement.

                               INTERRUPTION OF SERVICE BY CASUALTY

     20. City shall not be liable for failure to transport or treat waste water of Company if such

         failure arises from any cause of circumstances beyond the reasonable control of City,

         including federal or state court order, damage to or incapacity of the sewer system or the

         waste water treatment facility resulting from fire, flood or other casualty or natural

         disaster. In the event of any failure, breakdown or interruption of sewage treatment


                                             Page 20 of 24

4834-2196-7213, v.1
   8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 22 of 25 - Page ID # 92



           services contracted hereunder, City shall use its best efforts to promptly reactivate the
           operation of the waste water treatment facility and sewer system.

                                             OWNERSHIP

      21. Company shall not, for any purposes, be construed as having any ownership interest in
          the waste water treatment facility or its collection system.

                                     RESERVATION OF CAPACITY

      22. City by virtue of this Agreement, reserves for Company, for so long as Company pays its

          obligations under this Agreement, a capacity for treatment of 150,000 gallons per day of
          hydraulic flow containing BOD of 2,781 'pounds per day, TSS of 700 pounds per day, and
          TKN of 290 pounds per day.

                              ASSIGNABILITY OF COMPANY'S INTEREST

     23. Should Company cease business in David City, Nebraska, or greatly reduce its discharge

          into the City's waste water treatment facility, then, subject to prior approval of the City
          Council, Company shall have the right to assign or transfer such reserved capacity in the
          waste water treatment facility to another company or to City. The City's approval of
          assignment or transfer of such capacity by Company shall not be unreasonably withheld
          by City.

                                CHANGE IN DISCHARGE STANDARDS

     24. It is hereby agreed to and understood between City and Company that state and federal

         discharge standards relating to effluent being discharged from the waste water treatment
         facility may change in the future. Should such standards require a change in City waste
         water treatment facility, the parties hereto agree to evaluate their participation in the
         cost of such improvements required by state and federal agencies to be constructed by
         the City in order to meet then prevailing state and federal health standards.

                                       TERM OF AGREEMENT

     25. This Agreement shall be for a term of twenty-five (25) years commencing o ~

         2018, and thereafter shall be renewed for an additional period of not less than fifteen (15

                                            Page 21 of 24
4834-2196-7213, v.1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 23 of 25 - Page ID # 93



          years. After the initial renewal period, the parties may renew or extend this Agreement

          for such periods of time as they may agree upon. The City will pledge this Agreement to

          the USDA Rural Development as part of the security for their financial assistance to the

          City. Company may terminate this Agreement at any time upon three {3) months written

          notice delivered to City in person or sent by certified mail, return receipt requested to the

          City Clerk of David City, Nebraska.

                                      EFFECTS OF TERMINATION

     26. Should Company seek to terminate the Agreement, such termination shall in no way
          relieve Company of its obligation to pay the Company's proportionate share of the cost

         of the current capital improvement plan in the amount and according to the schedule set

         forth in Section 10 {b) of this Agreement.

                                         ENTIRE AGREEMENT

     27. This Agreement embodies the entire agreement and understanding between the parties
         hereto. It supersedes all prior agreements, oral or written, and may be modified or

         amended only by an instrument in writing signed by the parties hereto.



                           COMPLETION OF CURRENT CAPITAL PROJECT

     28. The City and Company agree that, upon completion of the city's new anaerobic lagoon

         and associated equipment they shall meet and discuss any changes to this Agreement

         that may be necessary or advisable, and agree to work together in good faith to make any

         amendments to this Agreement that may come about as a result of such discussions.

                                          GOVERNING LAW

     29. This Agreement shall be construed and governed in accordance with the laws of the State
         of Nebraska.




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                                                Page 22 of 24

4834-2196-7213,   V.   1
  8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 24 of 25 - Page ID # 94



 IN WITNESS WHEREOF, the parties, acting under authority of their respective governing bodies,

 have caused this Agreement to be duly executed in two or more counterparts, each of which shall

 constitute an origin aI.

                                                    COMPANY:

                                                    HENNINGSEN FOODS, INC,
                                                    a New York corporation



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  Attest:                                           CITY:

                                                    CITY OF DAVID CITY, NEBRASKA,
                                                    a municipal corporation


  City




                                                    USDA:

                                                    UNITED STATES DEPARTMENT OF
                                                    AGRICULTURE, RURAL
                                                    DEVELOPMENT,



                                                    APPROVED:



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                                         Page 23 of 24

4834-2196-7213, V. 1
8:20-cv-00269-BCB-SMB Doc # 2-2 Filed: 07/07/20 Page 25 of 25 - Page ID # 95




STATE OF NEBRASKA




The    foregoing      instrument     was   acknowledged    before     me     on     the       :JO            day   of

 -:-S-" t ~               ,2018, by James Harshman, President and CFO of Henningsen Foods, Inc.,
a New Yor       orporation authorized to do business in the State of Nebraska.

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My Commission expires       9an        !fjdJO 19
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                                                                       GENERAL NOTARY· Stale of Nebraska
                                                                         ELIZABETH HANSEN-HOESCHEN
                                                                          My Comm. Exp, January 18, 2019
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STATE OF NEBRASKA                                                                                                       l:i

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The    foregoing      instrument was       acknowledged   before me        on     the      c?.:]ALl,         day of

--<J,.,,""~""~u""'i"'ti.------'' 2018, by Alan Zavodny, Mayor of David City. ,
                                                               ,,;Ja.M.,~ ,'l tpn,J:'G
My Commission expires       ;11 IL   is;, ,J[;A;;_


STATE OF NEBRASKA

COUNTY 0~&,_r:/e.,y


The foregoing         instrument was       acknowledged   before me on the                   ~ ft            day of

..,.A.,.~-,i.,l""'""J""'----~• 2018, by JI,,,..-/ t/,n-,/24.e,r.,µG   USDA Rural Development State
Director.




My Commission expires       t::2-J(J - dlJ.;2()
                                                                         GENERAL NOTARY• State of Nebraska
                                                                               LUANN M. BROWN
                                                                         · My Comm. Exp, February 10, 202o


                                               Page 24 of 24

4834,2196,7213, v.1
